
44 So.3d 645 (2010)
Alvis CHURCHWELL, Appellant,
v.
STATE of Florida, Appellee.
No. 2D09-49.
District Court of Appeal of Florida, Second District.
September 22, 2010.
James Marion Moorman, Public Defender, and Tosha Cohen, Assistant Public Defender, Bartow, for Appellant.
Bill McCollum, Attorney General, Tallahassee, and Marilyn Muir Beccue, Assistant Attorney General, Tampa, for Appellee.
PER CURIAM.
Affirmed. See Taylor v. State, 582 So.2d 152 (Fla. 4th DCA 1991) ("An arrest warrant is not an `untried indictment, information or complaint' so as to trigger compliance with section 941.45, Florida Statutes (1989), the Interstate Agreement on Detainers statute.").
NORTHCUTT, WALLACE, and CRENSHAW, JJ., Concur.
